                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    In re                                            Chapter 11

    Refreshing USA, LLC,                             Case No. 24-33919 (ARP)
                                                     (Jointly Administered)
                                 1
                          Debtors .


        ORDER GRANTING DEBTORS’ SECOND EMERGENCY MOTION FOR
      EXTENSION OF TIME TO FILE SCHEDULES, STATEMENT OF FINANCIAL
    AFFAIRS, AND OTHER DOCUMENTS REQUIRED BY BANKRUPTCY RULE 1007
                          [Relates to Docket No. ___]

            The Court, having considered Debtor’s Second Emergency Motion for Extension of Time

to File Schedules, Statement of Financial Affairs, and Other Documents Required by Bankruptcy
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Rule 1007 (the “Motion”) filed by Debtors , and the Court having jurisdiction over this matter;

and the Court having found that the relief requested in the Motion is in the best interests of

Debtors’ estates, their creditors, and other parties in interest; and the Court having found that

Debtors’ notice of the Motion and opportunity for a hearing on the Motion were appropriate

under the circumstances and no other notice need be provided; and the Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before the Court, if any; and the Court having determined that the legal and factual bases set

forth in support of the Motion establish just cause for the relief granted herein; and upon all of




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 Debtors and debtors-in-possession in these Chapter 11 cases (“Bankruptcy Case(s)”), along
with the last four digits of their respective Employer Identification Numbers, are as follows:
Refreshing USA, LLC (XX-XXXXXXX) (“Refreshing”), Case No. 24-33919; Water Station
Management LLC (XX-XXXXXXX) (“Water Station”), Case No. 24-33924; and Creative
Technologies, LLC (XX-XXXXXXX) (“Creative” and, together with Refreshing and Water Station,
“Debtors”), Case No. 24-33934. Debtors’ mailing address is: 2732 Grand Ave., Ste. 122,
Everett, WA 98201.
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    Capitalized terms that are not defined here have the meaning ascribed to them in the Motion.



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the proceedings had before the Court; and after due deliberation and sufficient cause appearing

therefor,
        IT IS HEREBY ORDERED that:

        1.      Debtors are granted an extension, and have through November 22, 2024, to file

Debtors’ Schedules, Statements of Financial Affairs, List of Equity Security Holders, and

Corporate Ownership Statement.

        2.      Notice of the Motion as set forth therein shall be deemed good and sufficient

notice of such Motion, and the requirements of the Bankruptcy Rules and the Bankruptcy Local

Rules are satisfied by such notice.

        3.      Notwithstanding any Bankruptcy Rule or Bankruptcy Local Rule to the contrary,

the terms and conditions of this Order are immediately effective and enforceable upon its entry.

        4.      Debtors and the Clerk of the Court are authorized to take all actions necessary to

effectuate the relief granted in this Order.

        5.      The Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.

SIGNED _______________, 2024.




                                               __________________________________________
                                               UNITED STATES BANKRUPTCY JUDGE


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